     Case 2:18-cr-00014-LGW-BWC Document 571 Filed 01/23/19 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


UNITED STATES OF AMERICA            :
                                    :
                                    :
                                    :
v.                                  :                Case No.: 2:18-CR-14-LGW-BWC
                                    :
                                    :
                                    :
ANDREW JACKSON                      :
____________________________________:

 DEFENDANT ANDREW JACKSON’S NOTICE TO THE COURT REGARDING THE
           GOVERNMENT’S PROPOSED JURY INSTRUCTIONS

       COMES NOW, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel, pursuant to local rules and the rules of this Honorable Court, hereby files this notice to

the court with respect to the government’s proposed jury instructions and in support states as

follows:

   1. The Defendant objects to the use of all non-Eleventh Circuit Pattern Jury Instructions.

   2. The Defendant reserves the right to reject, modify or suggest additional jury instructions

       at the close of evidence.
     Case 2:18-cr-00014-LGW-BWC Document 571 Filed 01/23/19 Page 2 of 3



                                           CONCLUSION

        WHEREFORE, the Defendant, ANDREW JACKSON, by and through his undersigned

counsel respectfully files this notice to the court.


                                                        Respectfully submitted,

                                                        By: /s/ Mark J. O'Brien
                                                        Mark J. O'Brien, Esquire
                                                        Florida Bar No.: 0160210
                                                        511 West Bay Street
                                                        Suite 330
                                                        Tampa, Florida 33606
                                                        Direct:        (813) 228-6989
                                                        Email: mjo@markjobrien.com
     Case 2:18-cr-00014-LGW-BWC Document 571 Filed 01/23/19 Page 3 of 3



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY on January 23, 2019 I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will then send notice of electronic filing

to all counsel of record.

                                                         By: /s/ Mark J. O'Brien
                                                         Mark J. O'Brien, Esquire
